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                                                  U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York
                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007


                                                     May 20, 2020


BY ECF

The Honorable Jesse M. Furman
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. Michael Avenatti, 19 Cr. 374 (JMF)

Dear Judge Furman:

        The Government respectfully submits the attached proposed scheduling order on behalf of
the parties, pursuant to the Court’s May 15, 2020 Order. The parties have adjusted the pretrial
deadlines previously set by the Court, as well as their jointly agreed upon schedule for mutual
pretrial disclosures, to correspond to the new trial date. With respect to the briefing schedule for
any potential renewed motion by the defendant for transfer of venue, the defendant proposes that
his brief be filed on or before July 6, 2020; the Government’s response be filed on or before
July 20, 2020; and the defendant’s reply, if any, be filed on or before July 27, 2020. The
Government proposes that the defendant’s brief be filed on or before June 5, 2020; the
Government’s response be filed on or before June 19, 2020; and the defendant’s reply, if any, be
filed on or before June 26, 2020.


                                                     Respectfully submitted,

                                                     GEOFFREY S. BERMAN
                                                     United States Attorney

                                              By:     s/ Matthew D. Podolsky
                                                     Matthew D. Podolsky
                                                     Robert B. Sobelman
                                                     Assistant United States Attorneys
                                                     (212) 637-1947/2616


cc:    Thomas D. Warren, Esq. (by ECF)
       Daniel Dubin, Esq. (by ECF)
       Mariel Colon Miro, Esq. (by ECF)
